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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Criminal No. 21-57 (PAM/HB)

 UNITED STATES OF AMERICA,

                     Plaintiff,

       v.

 (2) ELIFAA HENRY KINYAIYA,
 (3) VARBAR B. KANNEH,                    UNOPPOSED MOTION FOR
 (4) ESKENDER M. YOUSUF,                  EXTENSION OF TIME
 (5) ZELDA LIBERTY RUSSELL,
 (7) HODAN ABDI HASHI,
 (8) OMAR ALI OSMAN,
 (9) UBAH HASSAN HAGI,

                     Defendants.


      The United States of America, by and through its attorneys, Charles J. Kovats,

Jr., Acting United States Attorney for the District of Minnesota, and Angela M.

Munoz, Assistant United States Attorney, respectfully moves the Court for a 2-day

extension of time to file its responses to pretrial motions filed by Defendants Varbar

B. Kanneh, Eskender M. Yousuf, Zelda Liberty Russell, Omar Ali Osman, and Ubah

Hassan Hagi. The United States’ response is due today, January 24, 2022. Due to

an unexpected illness in the undersigned’s family, the undersigned is requesting a

brief extension. Defense counsel for Mr. Kanneh, Mr. Yousuf, Mr. Osman, and Ms.

Hagi do not object to the extension request. Defense counsel for Ms. Russell did not

respond due to being in trial in another matter. Accordingly, the United States

respectfully requests an extension of time until January 26, 2022 for the United

States to file its responses to the defendants’ pretrial motions.
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Dated: January 24, 2022                 Respectfully submitted,

                                        CHARLES J. KOVATS, JR.
                                        Acting United States Attorney

                                        /s/ Angela M. Munoz

                                        BY: ANGELA M. MUNOZ
                                        Assistant U.S. Attorney




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